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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

  LARRY L. NIERMANN,                            §
                                                §
          Plaintiff,                            §
                                                §
 v.                                             §               Civil Action No. 4:22-cv-03147
                                                §
 PHH MORTGAGE CORPORATION,                      §
                                                §
          Defendant.                            §

                                 JOINT STIPULATION OF DISMISSAL

         Plaintiff Larry Niermann (“Plaintiff”) and Defendant PHH Mortgage Corporation

(“Defendant” or “PHH”) (collectively, the “Parties”), by and through their undersigned counsel,

hereby stipulate and agree that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all

claims and causes of action asserted or could have been asserted by Plaintiff against Defendant are

hereby dismissed with prejudice.


Date: October 12, 2022.

                                             Respectfully submitted,

                                             By:     /s/ Helen O. Turner
                                                     Robert T. Mowrey – Attorney-in-Charge
                                                     Texas Bar No. 14607500
                                                     S.D. Bar No. 9529
                                                     rmowrey@lockelord.com
                                                     Vincent J. Hess
                                                     Texas Bar No. 09549417
                                                     S.D. Bar No. 20194
                                                     vhess@lockelord.com
                                                     Matthew H. Davis
                                                     Texas Bar No. 24069580
                                                     S.D. Bar No. 1124612
                                                     mdavis@lockelord.com



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                                            LOCKE LORD LLP
                                            2200 Ross Avenue, Suite 2800
                                            Dallas, Texas 75201
                                            Telephone: (214) 740-8000
                                            Telecopier: (214) 740-8800

                                            Helen O. Turner
                                            Texas Bar No. 24094229
                                            S.D. Bar No. 2924121
                                            helen.turner@lockelord.com
                                            LOCKE LORD LLP
                                            600 Travis Street, Suite 2800
                                            Houston, Texas 77002
                                            Telephone: (713) 226-1280
                                            Telecopier: (713) 226-2501

                                            COUNSEL FOR DEFENDANT
                                            PHH MORTGAGE CORPORATION

                                      By:   /s/ Itzel Martinez Santos
                                            Itzel Martinez-Santos
                                            THE LAW OFFICES OF
                                            MARTINEZ & MARTINEZ, PLLC
                                            310 S. St. Mary’s St., Suite 980
                                            San Antonio, Texas 78205
                                            itzel@martinezlawtx.com
                                            Telephone: (210) 499-6448
                                            Telecopier: (210) 783-8555

                                            COUNSEL FOR PLAINTIFF
                                            LARRY L. NIERMANN




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